Case 2:05-cr-20304-SH|\/| Document 11 Filed 08/26/05 Page 1 of 2 Page|D 9

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

wESTERN DIVISION 05 mg 26 an ssl,‘f

UNITED sTATES oF AMERICA, M%’”§LU§M
w;DOFTN,MEWHS
vs. No. 05-20304-Ma '

COMFORT ANDERSON,

Defendant.

 

ORDER CONDITIONALLY WAIVING APPEARANCE AT REPORT DATE

 

On August 22, 2005, counsel for defendant Comfort Anderson,
filed a motion to waive the appearance of the defendant at the
arraignment scheduled on August 23, 2005. For good cause shown,
the motion is granted and the appearance of the defendant is
waived on the condition that counsel file with the court a
written waiver signed by the defendant. Upon its receipt,
counsel shall immediately file the required written waiver.

It is so ORDERED this'z : day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20304 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

